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 8
                                     IN THE UNITED STATES DISTRICT COURT FOR
 9
                                          THE EASTERN DISTRICT OF CALIFORNIA
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11
      DUSTIN OXBORROW,                    )                    CASE NO. 1:07-CV-00237-OWW-SMS
12                                        )
                     Plaintiff,           )
13                                        )
                     vs.                  )                    JUDGMENT
14                                        )
      CITY OF COALINGA, CHIEF PATRICIA )
15    MEDINA, OFFICER MICHAEL TINGLEY, )
      CPL. CHRIS SIMMONS, and DOES 1 )
16    through 10, inclusive,              )
                                          )
17                   Defendants.          )                    (FILING FEE EXEMPT
                                          )                    Gov. Code §26857)
18    ___________________________________ )

19             This action came on for hearing before the Court, on May 5, 2008 Hon. Oliver W. Wanger,

20    District Judge Presiding, on a Motion for Summary Judgment, and the evidence presented having

21    been fully considered, the issues having been duly heard and a decision having been duly rendered,

22             IT IS ORDERED AND ADJUDGED that the plaintiff take nothing, that the action be

23    dismissed on the merits and that defendants CITY OF COALINGA, CHIEF PATRICIA MEDINA,

24    OFFICER MICHAEL TINGLY and CPL. CHRIS SIMMONS recover their costs, in the amount of

25    $ 3,601.83.

26    DATED: 11/07/2008

27                                                   ______/s/ OLIVER W. WANGER
                                                        Oliver W. Wanger, United States District Judge
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